                                  EXHIBIT 6-A




{10661-001 EXH A0381486.DOCX}
 13-53846-tjt        Doc 9282-4   Filed 02/13/15   Entered 02/13/15 18:16:02   Page 1 of 2
               COMPARISON OF SHAW FISHMAN HOURLY RATES
          MEMBERS                  2014 STANDARD RATES           2014 DETROIT RATES
       Robert M. Fishman                   $695.00                      $618.00
         Ira Bodenstein                    $505.00                      $434.00
        Peter J. Roberts                   $485.00                      $419.00
       Gordon E. Gouveia                   $395.00                      $347.00
        ASSOCIATES
       John W. Guzzardo                     $380.00                      $300.00
        David R. Doyle                      $310.00                      $267.00
         Marc S. Reiser                     $310.00                      $267.00
       Allison B. Hudson                    $270.00                      $248.00




          COMPARISON OF KAPILA & COMPANY HOURLY RATES
 PROFESSIONAL STAFF                2014 STANDARD RATES           2014 DETROIT RATES
    Soneet R. Kapila                       $530.00                      $450.00
   Mary M. McMickle                        $380.00                      $342.00
     Joseph E. Gillis                      $314.00                      $272.00
       Mark Parisi                         $170.00                      $156.00




{10661-001 EXH A0381486.DOCX}
 13-53846-tjt        Doc 9282-4   Filed 02/13/15   Entered 02/13/15 18:16:02   Page 2 of 2
